           Case 9:20-bk-10554-DS                        Doc 1 Filed 04/24/20 Entered 04/24/20 21:34:28                                   Desc
                                                        Main Document    Page 1 of 17
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Central
 ____________________             California
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Community Provider of Enrichment Services, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
                                               Counseling and Consulting Services
      in the last 8 years                     ______________________________________________________________________________________________________
                                               d/b/a CPES Inc.
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer              8___ ___
                                                  6        0 3 9 3 9 7 9
                                                         – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  4825      North Sabino Canyon Road
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Tucson                      AZ         85750
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.cpes.com
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
            Case 9:20-bk-10554-DS                 Doc 1 Filed 04/24/20 Entered 04/24/20 21:34:28                                      Desc
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Debtor         Community Provider of Enrichment Services, Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              6 ___
                                             ___ 2 ___
                                                    3 ___
                                                       2
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
             Case 9:20-bk-10554-DS                 Doc 1 Filed 04/24/20 Entered 04/24/20 21:34:28                                       Desc
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Debtor           Community Provider of Enrichment Services, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a                          Novelles Developmental Services, Inc. Relationship _________________________
                                           Yes.    Debtor _____________________________________________        Affiliate
       business partner or an
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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               Community Provider of Enrichment Services, Inc.
Debtor        _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            04   24 2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8      /e/ Mark G. Monson
                                             _____________________________________________
                                                                                                          Mark G. Monson
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   President & Chief Executive Officer
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor         Community Provider of Enrichment Services, Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        8    /s/ Ryan M. Salzman
                                            _____________________________________________            Date        04   24 2020
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Ryan M. Salzman
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Faegre Drinker Biddle & Reath LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1800        Century Park East, Suite 1500
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Los Angeles
                                           ____________________________________________________             CA
                                                                                                           ____________  90067
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (310) 203-4049
                                           ____________________________________                             Ryan.Salzman@faegredrinker.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            299923
                                           ______________________________________________________  CA
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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      Fill in this information to identify the case:

                  Community Provider of Enrichment Services, Inc.
      Debtor name __________________________________________________________________
                                              Central
      United States Bankruptcy Court for the: ______________________              California
                                                                     District of _________
                                                                                (State)
                                                                                                                                            Check if this is an
      Case number (If known):   _________________________
                                                                                                                                                amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                              professional          unliquidated,   total claim amount and deduction for value of
                                                                              services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff

1    CAPGROW HOLDINGS JV SUB IV                                                                                                                           $55,104.00
     LLC
     320 W OHIO ST., STE 650N
     CHICAGO, IL 60654

2     RON W BROWN                                                                                                                                         $29,953.42
      C/O HVI, LLC
      TUCSON, AZ 85728


3    ORSETT FOOTHILLS LLC                                                                                                                                 $18,825.56
     C/O ORSETT PROPERTIES, LTD.
     PHOENIX, AZ 85016


4    EASLEY SUNLAND TUJUNGA LLC                                                                                                                           $9,462.75
     808 LAKE BREEZE DR
     HIGHLAND VILLAGE, TX 75077


5    PLAZA 44 TRUST ACCOUNT                                                                                                                               $6,879.48
     C/O CASE, HUFF & ASSOCIATES
     INC
     SCOTTSDALE, AZ 85254

6    STAFF OF LIFE LLC                                                                                                                                    $6,475.02
     4873 E SPEEDWAY BLVD
     TUCSON, AZ 85712


7    IDEAL ARIZONA HOLDINGS LLC                                                                                                                          $4,772.76
     ATTN J BRUCE FORBES
     FT LAUDERDALE, FL 33316


8    MAQSOOD & SABINA                                                                                                                                     $4,063.35
     ENTERPRISES, LLC
     6000 E CALLE DE VITA
     TUCSON, AZ 85750




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 1
               Case 9:20-bk-10554-DS                 Doc 1 Filed 04/24/20 Entered 04/24/20 21:34:28                                         Desc
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    Debtor       Community Provider of Enrichment Services, Inc.
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff


9    LA ESTANCIA APARTMENTS                                                                                                                           $3,890.85
     6445 S MAPLE AVE.
     TEMPE, AZ 85283


10 CTC PROPERTY MANAGEMENT,                                                                                                                           $3,796.00
   LLC
   2197 S 4TH AVE. STE 206
   YUMA, AZ 85364

11 JANET CASE                                                                                                                                         $3,150.00
   PETER SPICER
   SPOKANE, WA 99203


12 CAPGROW HOLDINGS JV SUB III                                                                                                                        $2,726.89
   LLC
   320 W OHIO ST., STE 650N
   CHICAGO, IL 60654
                                           (866) 520-1245 Ext. 0000
13 HSL ASSET MANAGEMENT, LLC                                                                                                                         $2,527.48
   201 S KOLB RD
   TUCSON, AZ 85710


14 MICHAEL WINSHIP                                                                                                                                   $1,800.00
   572 MASON RD
   VISTA, CA 92084


15 K LAZY V HOLDINGS, LLC                                                                                                                            $1,654.75
   PO BOX 2641
   OVERGAARD, AZ 85933-2641

                                           (602) 549-5535 Ext. 0000
16 WYATT SIEGAL                                                                                                                                       $1,527.00
   8511 E EDGEMONT AVE.
   SCOTTSDALE, AZ 85257

                                           (602) 717-2610 Ext. 0000                                                                                   $1,350.00
17 BILL LINDERMAN
   18021 N 50TH PLACE
   SCOTTSDALE, AZ 85254

                                           (480) 948-5554 Ext. 0000
18 WEST USA REALTY                                                                                                                                    $1,319.50
   ATTN: BOB MORRIS
   SCOTTSDALE, AZ 85254

                                           (520) 685-8210 Ext. 0000
19 AURORA SKY REALTY LLC                                                                                                                             $1,300.38
   1843 PASEO SAN LUIS, STE A
   SIERRA VISTA, AZ 85635


20 TOWNS, J E                                                                                                                                         $1,300.00
   780 CAYO GRANDE COURT
   NEWBURY PARK, CA 91320




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
          Case 9:20-bk-10554-DS                    Doc 1 Filed 04/24/20 Entered 04/24/20 21:34:28                                       Desc
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address

 FAEGRE DRINKER BIDDLE & REATH LLP
 Ryan M. Salzman (CA Bar #299923)
 1800 Century Park East, Suite 1500
 Los Angeles, CA 90067
 Telephone: (310) 203-4049
 Facsimile: (310) 229-1285
 ryan.salzman@faegredrinker.com




      Attorney for: Debtors and Debtors in Possession

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISIONDIVISION

 In re:
                                                                             CASE NO.:
 Community Provider of Enrichment Services, Inc.
                                                                             ADVERSARY NO.:
                                                                             CHAPTER: 11
                                                             Debtor(s).



                                                                                   CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                            Plaintiff(s),               and 7007.1, and LBR 1007-4



                                                                                                           [No hearing]
                                                         Defendant(s).



Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a
debtor in a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying
all its parent corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly
own 10% or more of any class of the corporation’s equity interest, or state that there are no entities to report. This
Corporate Ownership Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary
proceeding. A supplemental statement must promptly be filed upon any change in circumstances that renders this
Corporate Ownership Statement inaccurate.

I, (Printed name of attorney or declarant) Ryan M. Salzman                                        , the undersigned in
the above-captioned case, hereby declare under penalty of perjury under the laws of the United States that the following
is true and correct:




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                 F 1007-4.CORP.OWNERSHIP.STMT
         Case 9:20-bk-10554-DS                   Doc 1 Filed 04/24/20 Entered 04/24/20 21:34:28                                       Desc
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[Check the appropriate boxes and, if applicable, provide the required information.]

1. I have personal knowledge of the matters set forth in this Statement because:

            l am the president or other officer or an authorized agent of the Debtor corporation
            I am a party to an adversary proceeding
            I am a party to a contested matter
            I am the attorney for the Debtor corporation

2.a.        The following entities, other than the Debtor or a governmental unit, directly or indirectly own 10% or more of
            any class of the corporation’s(s’) equity interests:
        CPES Employee Stock Ownership Plan and Trust



        [For additional names, attach an addendum to this form.]

  b.        There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity
            interest.



Date: 04/24/2020                                                                By:    /s/ Ryan M. Salzman
                                                                                      Signature of Debtor, or attorney for Debtor


                                                                                Name: Ryan M. Salzman
                                                                                      Printed name of Debtor, or attorney for Debtor




          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 2                   F 1007-4.CORP.OWNERSHIP.STMT
           Case 9:20-bk-10554-DS                    Doc 1 Filed 04/24/20 Entered 04/24/20 21:34:28                                     Desc
                                                    Main Document    Page 10 of 17
 Fill in this information to identify the case and this filing:


              Community Provider of Enrichment Services, Inc.
 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: Central                            California
                                         ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

         ✔
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ✔
                                                        Statement of Corporate Ownership
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                      4/24/2020
        Executed on ______________                         8       /e/ Mark G. Monson
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Mark G. Monson
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 FAEGRE DRINKER BIDDLE & REATH LLP
 Ryan M. Salzman (CA Bar #299923)
 1800 Century Park East, Suite 1500
 Los Angeles, CA 90067
 Telephone: (310) 203-4049
 Facsimile: (310) 229-1285
 Ryan.salzman@faegredrinker.com




     Debtor(s) appearing without attorney
     Attorney for Debtor

                                          UNITED STATES BANKRUPTCY COURT
                                                                    NORTHERN
                                    CENTRAL DISTRICT OF CALIFORNIA -Name        DIVISION
                                                                         of DIVISION

 In re:                                                                    CASE NO.:
 Community Provider of Enrichment Services, Inc. d/b/a                     CHAPTER: 11
 CPES Inc., et al.



                                                                                         VERIFICATION OF MASTER
                                                                                        MAILING LIST OF CREDITORS
                                                                                                    [LBR 1007-1(a)]


                                                           Debtor(s).



Pursuant to LBR 1007-1(D), the Debtor, or the Debtor’s attorney if applicable, certifies under
penalty of perjury that the master mailing list of creditors filed in this bankruptcy case, consisting of
_2__ sheet(s) is complete, correct, and consistent with the Debtor’s schedules and I/we assume
all responsibility for errors and omissions.


Date: ___________________                                                 _______________________________________
                                                                          Signature of Debtor 1

Date: ___________________                                                 _______________________________________
                                                                          Signature of Debtor 2 (joint debtor) (if applicable)
                                                                            /s/ Ryan M. Salzman
Date: ___________________
       04/24/2020                                                          _____________________________________
                                                                           Signature of Attorney for Debtor (if applicable)


           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California

December 2015                                                                                       F 1007-1.MAILING.LIST.VERIFICATION
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